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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                     )       CRIMINAL NO. 16-10343-ADB
                                              )
               v.                             )
                                              )
MICHAEL L. BABICH, ET. Al.                    )
                                              )
         Defendants.                          )
                                              )

       GOVERNMENT’S MOTION IN LIMINE TO PRECLUDE ADMISSION OF
             SELF-SERVING HEARSAY WITHOUT EXCEPTION

       The United States of America, by its attorney, Andrew E. Lelling, United States Attorney

for the District of Massachusetts, and the undersigned Assistant United States Attorneys,

respectfully moves to preclude any defendant from admitting self-serving hearsay, without an

exception, in the form of emails and corporate records containing any such statements.

       It is well-settled that a defendant cannot introduce his own recorded statements into

evidence. See United States v. Cianci, 378 F.3d 71, 106 (1st Cir. 2004) (affirming exclusion of

defendant’s own taped statement as a “self-serving attempt[] to cover tracks already made”). As

the First Circuit has explained, “[t]he requirement of Rule 801(d)(2)(A) that an admission be

offered against a party is designed to exclude the introduction of self-serving statements by the

party making them.” United States v. Palow, 777 F.2d 52, 56 (1st Cir. 1985).

       To avoid tainting the jury, should a defendant desire to introduce any such email or

document, he or she should be required to make an offering, in advance and outside the presence

of the jury, to support an exception to the rule against admission of self-serving hearsay.

Because the government has not yet received any defense exhibits, it cannot cite any exhibits
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with specificity. Nevertheless, it is settled that self-serving hearsay is inadmissible without an

exception, and the Court should so hold.

       WHEREFORE, the United States respectfully requests the Court preclude the admission

by any defendant of self-serving hearsay without an exception, and requests the Court order the

defendants to seek leave from the court, sufficiently in advance and outside the presence of the

jury, to admit any self-serving hearsay purportedly within an exception.

                                              ANDREW E. LELLING
                                              United States Attorney

Dated: December 5, 2018                By:    /s/ David G. Lazarus
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                                    Certificate of Compliance

       I certify that I have conferred with opposing counsel and have attempted in good faith to
resolve or narrow the issue.


                                              /s/ David G. Lazarus _____
                                              David G. Lazarus
                                              Assistant United States Attorney
Dated: December 5, 2018


                                      Certificate of Service

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).


                                              /s/ David G. Lazarus _______
                                              David G. Lazarus
Dated: December 5, 2018                       Assistant U.S. Attorney




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